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May 10, 2023                           Application DENIED. The Court does not ordinarily adjourn the
                                       initial conference until after an answer is filed. So Ordered.
VIA ECF
                                       Dated: May 11, 2023
Hon. Lorna G. Schofield
United Stated District Court                       New York, New York
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Best v. Parkchester Preservation Management LLC et al.,
               Case No.: 1:23-cv-02555-LGS

Dear Judge Schofield:

        This firm represents Defendants Parkchester Preservation Management, LLC, PPC
Property Service, LLC and Olshan Properties in the above-captioned action. We write to request
that the initial telephonic conference currently scheduled for May 31, 2023 be adjourned until after
July 3, 2023, which is Defendants’ deadline to respond to pro se plaintiff Laura Best’s complaint.
We further request that the May 24, 2023 deadline to submit a joint letter and Proposed Civil Case
Management Plan and Scheduling Order likewise be adjourned to a week before the adjourned
conference.

        As this is a pro se matter, the U.S. Marshals Service mailed a Statement of Service by Mail
and Acknowledgement of Receipt by Mail of Summons and Complaint to Defendants. On May 4,
2023, this office timely returned the executed acknowledgement form, on behalf of all Defendants,
thus setting Defendants’ deadline to respond to Ms. Best’s complaint as July 3, 2023.

        I have spoken with Ms. Best via telephone on May 6 and 9, 2023 concerning this request.
On May 9, 2023 Ms. Best advised that she does not consent to this extension request. I asked Ms.
Best if there was a particular reason for her refusal to consent, and Ms. Best replied “health
problems”; when asked how “health problems” relates to Defendants’ adjournment request, Ms.
Best declined to elaborate. This is the first request for an adjournment/extension in this case, and
the requested adjournment would not affect any other scheduled dates or deadlines in this case.

       Thank you for your attention to this matter.

                                                                Respectfully submitted,

                                                                /s/ Meaghan Roe

cc:    Pro se plaintiff Laura Best (via U.S. Mail)


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